                        Case 6:24-bk-02486-GER              Doc 141      Filed 05/21/24       Page 1 of 4
                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                           PRO MEMO

                                                                 05/21/2024 01:30 PM
                                                                 COURTROOM 6D, 6th Floor
HONORABLE GRACE ROBSON
CASE NUMBER:                                                     FILING DATE:
6:24-bk-02486-GER                         11                        05/19/2024
Chapter 11
DEBTOR:                 Red Lobster Management LLC


DEBTOR ATTY:           Taeyeong Kim
TRUSTEE:               NA
HEARING:
EMERGENCY HEARINGS:
1) (Debtor) Emergency Motion for Entry of an Order (I) Authorizing the Debtors to File (A) a Consolidated Creditor Matrix and (B)
                         a Consolidated List of the Top Thirty Unsecured Creditors; and (II) Authorizing the Debtors to Suppress
                         Certain Personally Identifiable Information For Individual Creditors, Employees and Parties in Interest (Doc
                         #8)
-US Trustee's Limited Objection (Doc #86)
-US Trustee's Objection (Doc #89)
2) (Debtor) Emergency Application to Retain Alvarez & Marsal North America, LLC to Provide the Debtors a Chief Executive
                         Officer, a Chief Restructuring Officer, and Certain Additional Personnel, (II) Designate Jonathan Tibus as
                         Chief Executive Officer, and (III) Designate Nicholas Haughey as Chief Restructuring Officer For the
                         Debtors, in Each Case, Effective as of the Petition Date (CORRECTED APPLICATION) (Doc #11)
-(Debtor) Notice of Filing Declaration of Jonathan Tibus in Support of the Corrected Emergency Application (Doc #68)
                         SUPPLEMENTAL (Doc #94)
-US Trustee's Limited Objection (Doc #86)
3) (Debtor) Emergency Application to Employ Epiq Corporate Restructuring, LLC as Notice, Claims and Solicitation Agent
                         Effective as of the Petition Date (Doc #13)
-US Trustee's Limited Objection (Doc #86)
4) (Debtor) Emergency Motion for Approval of Form of Notice of Commencement and Proof of Claim (Doc #15)
-US Trustee's Limited Objection (Doc #86)
5) (Debtor) Emergency Motion for an Order Establishing Certain Notice Procedures (Doc #17)
-US Trustee's Limited Objection (Doc #86)
6) (Debtor) Emergency Motion for Authority to Pay Pre-Petition Wages , Salaries, Employee Benefits, and Other Employee
                         Obligations, Maintain Employee Benefit Programs, and For Related Relief (Doc #19)
-US Trustee's Limited Objection (Doc #86)
7) (Debtor) Emergency Motion for Entry of an Order (I) Authorizing Debtors to Pay Certain Section 503(b)(9) Claims in the
                         Ordinary Course of Business, and (II) Granting Related Relief (Doc #21)
-US Trustee's Limited Objection (Doc #86)
8) (Debtor) Emergency Motion for Entry of an Order (I) Authorizing Debtors to Pay Certain Prepetition Claims of Lien Claimants
                         in the Ordinary Course of Business, and (II) Granting Related Relief (Doc #23)
                                   Case Number 6:24-bk-02486-GER                      Chapter 11
                        Case 6:24-bk-02486-GER            Doc 141      Filed 05/21/24      Page 2 of 4
-US Trustee's Limited Objection (Doc #86)
9) (Debtor) Emergency Motion to Determine Adequate Assurance for Payment of Utility Services or, in the Alternative,
                       Establishing the Procedure for Determining Adequate Assurance (Motion for Entry of an Order (I)
                       Prohibiting Utilities from Altering, Refusing, or Discontinuing Services, (II) Deeming Utilities Adequately
                       Assured of Future Performance, (III) Establishing Procedures for Determining Adequate Assurance of
                       Payment, and (IV) Granting Related Relief) (Doc #25)
-US Trustee's Limited Objection (Doc #86)
10) (Debtor) Emergency Motion of Debtors for an Order Authorizing Red Lobster Management LLC to Act as Foreign
                       Representative of the Debtors (Doc #27)
11) (Debtor) Emergency Motion to Reject Unexpired Leases of Non-Residential Real Property Effective as of the Petition Date,
                       (B) Abandonment of Any Remaining Personal Property Located at the Leased Premises, and (C) Fixing a
                       Bar Date for Claims of Counterparties (First Omnibus) (Doc #29)
12) (Debtor) Emergency Motion for Interim and Final Orders Authorizing Debtors to Pay Prepetition Sales, Use, Trust Fund,
                       Property, Foreign, and Other Taxes and Similar Obligations (Doc #30)
-US Trustee's Limited Objection (Doc #86)
13) (Debtor) Emergency Motion to Reject Unexpired Leases of Non-Residential Real Property Effective as of the Petition Date, (B)
                       Abandonment of Any Remaining Personal Property Located at the Leased Premises, and (C) Fixing a Bar
                       Date for Claims of Counterparties (Second Omnibus) (Doc #33)
14) (Debtor) Emergency Motion for Entry of an Order (I) Authorizing Debtors to (A) Maintain and Administer Prepetition
                       Customer Programs, Promotions, and Practices and (B) Honor Prepetition Obligations Related Thereto
                       and (II) Granting Related Relief (Doc #34)
-US Trustee's Limited Objection (Doc #86)
15) (Debtor) Emergency Motion for Authority to Maintain Pre-Petition Bank Accounts , for Continued Use of Existing Cash
                       Management System, to Continue Use of Existing Business Forms and Checks, and to Honor Certain
                       Related Prepetition and Postpetition Obligations, to Perform Intercompany Transactions, for a Waiver of
                       Certain Investment and Deposit Guidelines, and Granting Related Relief (Doc #37)
-US Trustee's Limited Objection (Doc #86)
-US Trustee's Objection (Doc #92)
16) (Debtor) Emergency Motion for Authorization to (I) Continue to Administer Insurance Policies, Surety Bonds and Related
                       Agreements; (II) Honor Certain Obligations in Respect Thereof; and (III) for Related Relief (Doc #39)
-US Trustee's Limited Objection (Doc #86)
17) (Debtor) Emergency Motion for Entry of an Order (I) Authorizing the Debtors to Enter Into the New Insurance Program, (II)
                       Authorizing Assumption of the Existing Insurance Program, and (III) Granting Related Relief (Doc #41)
-US Trustee's Limited Objection (Doc #86)
18) (Debtor) Emergency Motion for Approval of Post-Petition Financing , in addition to Emergency Motion to Use Cash Collateral
                       , Granting Liens and Providing Superpriority Administrative Expense Status, Granting Adequate Protection,
                       Modifying Automatic Stay, Scheduling a Final Hearing, and Granting Related Relief (Doc #43)
                       CORRECTIVE (Doc #79)
-US Trustee's Limited Objection (Doc #86)
-US Trustee's Objection (Doc #90)
EXHIBITS:
Debtor's Exhibits (Doc #88, 91)
PENDING (TO BE SCHEDULED):
(Debtor) Motion for Entry of an Order (I)(A) Approving Bidding Procedures for Substantially All of the Debtors' Assets, (B)
                       Authorizing the Debtors to Enter into Stalking Horse Agreement and to Provide Bidding Protections
                       Thereunder, (C) Scheduling an Auction and Approving the Form and Manner of Notice Thereof, (D)
                       Approving Assumption and Assignment Procedures, and (E) Scheduling a Sale Hearing and Approving the
                       Form and Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors' Assets Free and Clear of
                       Liens, Claims, Interests, and Encumbrances and (B) Approving the Assumption and Assignment of
                       Executory Contracts and Unexpired Leases; and (III) Granting Related Relief (Doc #49)
(Debtor) Motion for Order Establishing Procedures for Monthly and Interim Compensation and Reimbursement of Expenses for
                       Professionals (Doc #52)
(Debtor) Motion to Reject Unexpired Leases of Non-Residential Real Property Effective as of the Petition Date, (B) Abandonment
                       of Any Remaining Personal Property Located at the Leased Premises, and (C) Fixing a Bar Date for
                       Claims of Counterparties (Third Omnibus) (Doc #53)
(Debtor) Motion to Reject Unexpired Leases of Non-Residential Real Property Effective as of the Petition Date, (B) Abandonment
                       of Any Remaining Personal Property Located at the Leased Premises, and (C) Fixing a Bar Date for
                       Claims of Counterparties (Fourth Omnibus) (Doc #54)
(Debtor) Declaration re: Declaration of Jonathan Tibus in Support of Debtors' Chapter 11 Petitions and First Day Relief (Doc #6)

                                  Case Number 6:24-bk-02486-GER                     Chapter 11
                        Case 6:24-bk-02486-GER              Doc 141      Filed 05/21/24       Page 3 of 4
-US Trustee's Limited Objection (Doc #86)
(Debtor) Motion for Entry of Order Approving Retention and Employment of Professionals Utilized in the Ordinary Course of
                         Business, Effective as of the Petition Date (Doc #93)
Note:
Plan/DS Due: 9/16/24
Case Summary (Doc #55)
Future Hearing:
Notice of Deficient Filing. Certificate Authorizing Debtor to File Bankruptcy Petition Not Filed. Summary of Assets Not Filed,
                         Schedules A/B,D,E/F,G and H Not Filed. Statement of Financial Affairs Not Filed (Doc #65)

APPEARANCES:: Lara Fernandez, Charles Dale (Fortress Credit Atty); Paul Singerman, Austin Jowers, Jeffrey Dutson,
Christopher Coleman, Brook Bean, Erin Hoskins, Nicolette Vilmos (Debtor Attys); James Timkco (Landlord Atty); Eric Golden
(Wells Fargo Atty); Scott Bomkamp, William Simonitsch (US Trustee Atty); Ruel Smith (Landlord Atty); Scott Andron (Broward
County Tax Collector Atty); Steven Soloman, Robert LeHan (Blumenfeld Develop. Group Atty); Melissa VanEck Pennsylvania
Attorney General Atty); Phillip Hudson (Zurich Atty); Ivan Gold (Landlord Atty); Andrew Sorkin (Thi Union Atty);

WITNESSES:       Jonathan Tibus ;

EVIDENCE:      Debtor Exhibits: 1, 4-6 Admitted ;

RULING:
EMERGENCY HEARINGS:

1) (Debtor) Emergency Motion for Entry of an Order (I) Authorizing the Debtors to File (A) a Consolidated Creditor Matrix and (B)
a Consolidated List of the Top Thirty Unsecured Creditors; and (II) Authorizing the Debtors to Suppress Certain Personally
Identifiable Information For Individual Creditors, Employees and Parties in Interest ( Doc #8) - Granted as discussed and modified
in open court:Order by Vilmos;


2) (Debtor) Emergency Application to Retain Alvarez & Marsal North America, LLC to Provide the Debtors a Chief Executive
Officer, a Chief Restructuring Officer, and Certain Additional Personnel, (II) Designate Jonathan Tibus as Chief Executive Officer,
and (III) Designate Nicholas Haughey as Chief Restructuring Officer For the Debtors, in Each Case, Effective as of the Petition
Date (CORRECTED APPLICATION) (Doc #11) - cont. to June 14, 2024 at 9:30 am (AOCNFNG);


3) (Debtor) Emergency Application to Employ Epiq Corporate Restructuring, LLC as Notice, Claims and Solicitation Agent
Effective as of the Petition Date ( Doc #13) - Approved:Order by Hoskins;

-US Trustee's Limited Objection (Doc #86) - Overruled:Order by Hoskins;


4) (Debtor) Emergency Motion for Approval of Form of Notice of Commencement and Proof of Claim (Doc #15) - Granted as
discussed in open court:Order by Vilmos;


5) (Debtor) Emergency Motion for an Order Establishing Certain Notice Procedures (Doc #17) - Granted as modified in open
court:Order by Vilmos;

6) (Debtor) Emergency Motion for Authority to Pay Pre-Petition Wages , Salaries, Employee Benefits, and Other Employee
Obligations, Maintain Employee Benefit Programs, and For Related Relief ( Doc #19) - Granted on an Interim basis to 6/14/24,
cont. to June 14, 2024 at 9:30 am:Order by Singerman;


7) (Debtor) Emergency Motion for Entry of an Order (I) Authorizing Debtors to Pay Certain Section 503(b)(9) Claims in the
Ordinary Course of Business, and (II) Granting Related Relief (Doc #21) - Granted:Order by Singerman;


8) (Debtor) Emergency Motion for Entry of an Order (I) Authorizing Debtors to Pay Certain Prepetition Claims of Lien Claimants
in the Ordinary Course of Business, and (II) Granting Related Relief (Doc #23) - Granted:Order by Singerman;

9) (Debtor) Emergency Motion to Determine Adequate Assurance for Payment of Utility Services or, in the Alternative,
Establishing the Procedure for Determining Adequate Assurance (Motion for Entry of an Order (I) Prohibiting Utilities from Altering,
Refusing, or Discontinuing Services, (II) Deeming Utilities Adequately Assured of Future Performance, (III) Establishing
                                    Case Number 6:24-bk-02486-GER                     Chapter 11
                        Case 6:24-bk-02486-GER             Doc 141      Filed 05/21/24       Page 4 of 4
Procedures for Determining Adequate Assurance of Payment, and (IV) Granting Related Relief) (Doc #25) - Granted:Order by
Coleman;


10) (Debtor) Emergency Motion of Debtors for an Order Authorizing Red Lobster Management LLC to Act as Foreign
Representative of the Debtors (Doc #27) - Granted:Order by Hoskins;



11) (Debtor) Emergency Motion to Reject Unexpired Leases of Non-Residential Real Property Effective as of the Petition Date,
(B) Abandonment of Any Remaining Personal Property Located at the Leased Premises, and (C) Fixing a Bar Date for Claims of
Counterparties (First Omnibus) (Doc #29) - Granted as modified in open court:Order by Bean;



12) (Debtor) Emergency Motion for Interim and Final Orders Authorizing Debtors to Pay Prepetition Sales, Use, Trust Fund,
Property, Foreign, and Other Taxes and Similar Obligations (Doc #30) - Granted on an interim basis to 6/14/24; cont. to June 14,
2024 at 9:30 am:Order by Bean;


13) (Debtor) Emergency Motion to Reject Unexpired Leases of Non-Residential Real Property Effective as of the Petition Date, (B)
Abandonment of Any Remaining Personal Property Located at the Leased Premises, and (C) Fixing a Bar Date for Claims of
Counterparties (Second Omnibus) (Doc #33) - Granted as modified in open court:Order by Bean;

14) (Debtor) Emergency Motion for Entry of an Order (I) Authorizing Debtors to (A) Maintain and Administer Prepetition
Customer Programs, Promotions, and Practices and (B) Honor Prepetition Obligations Related Thereto and (II) Granting Related
Relief (Doc #34) - Granted:Order by Coleman;


15) (Debtor) Emergency Motion for Authority to Maintain Pre-Petition Bank Accounts , for Continued Use of Existing Cash
Management System, to Continue Use of Existing Business Forms and Checks, and to Honor Certain Related Prepetition and
Postpetition Obligations, to Perform Intercompany Transactions, for a Waiver of Certain Investment and Deposit Guidelines, and
Granting Related Relief (Doc #37) - Granted as discussed in open court on an interim basis to 6/14/24; cont. to June 14, 2024 at
9:30 am.:Order by Coleman;


16) (Debtor) Emergency Motion for Authorization to (I) Continue to Administer Insurance Policies, Surety Bonds and Related
Agreements; (II) Honor Certain Obligations in Respect Thereof; and (III) for Related Relief (Doc #39) - Granted:Order by Bean;


17) (Debtor) Emergency Motion for Entry of an Order (I) Authorizing the Debtors to Enter Into the New Insurance Program, (II)
Authorizing Assumption of the Existing Insurance Program, and (III) Granting Related Relief (Doc #41) - Granted:Order by
Dutson;


18) (Debtor) Emergency Motion for Approval of Post-Petition Financing , in addition to Emergency Motion to Use Cash Collateral
, Granting Liens and Providing Superpriority Administrative Expense Status, Granting Adequate Protection, Modifying Automatic
Stay, Scheduling a Final Hearing, and Granting Related Relief (Doc #43) CORRECTIVE (Doc #79) - Granted as modified in
open court on an interim basis to 6/14/24; cont. to June 14, 2024 at 9:30 am.:Order by Jowers;
(gww).

Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Failure
to submit proposed orders before this case/adversary proceeding is closed will result in motions/objections/applications being
denied as moot. This docket entry/document is not an official order of the Court.




                                  Case Number 6:24-bk-02486-GER                       Chapter 11
